                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF ALABAMA
                                  NORTHERN DIVISION

In re:                                                      Case No. 11-83381-CRJ-13
         Anthony Lee Pierce
         Peggy Harbin Pierce
                   Debtor(s)


         CHAPTER 13 STANDING TRUSTEE’S FINAL REPORT AND ACCOUNT

        Michele T. Hatcher, chapter 13 trustee, submits the following Final Report and Account
of the administration of the estate pursuant to 11 U.S.C. § 1302(b)(1). The trustee declares as
follows:

         1) The case was filed on 09/28/2011.

         2) The plan was confirmed on 10/15/2012.

       3) The plan was modified by order after confirmation pursuant to 11 U.S.C. § 1329 on
03/03/2014, 04/14/2014, 11/25/2015, 05/03/2016, 08/25/2016.

     4) The trustee filed action to remedy default by the debtor in performance under the plan
on NA .

         5) The case was completed on 03/02/2017.

         6) Number of months from filing to last payment: 65.

         7) Number of months case was pending: 74.

         8) Total value of assets abandoned by court order: NA .

         9) Total value of assets exempted: $16,000.00.

         10) Amount of unsecured claims discharged without payment: $367,201.89.

         11) All checks distributed by the trustee relating to this case have cleared the bank .




UST Form 101-13-FR-S (9/1/2009)




Case 11-83381-CRJ13            Doc 155 Filed 12/07/17 Entered 12/07/17 16:15:56                    Desc
                                 Main Document Page 1 of 4
Receipts:

       Total paid by or on behalf of the debtor             $50,506.10
       Less amount refunded to debtor                        $5,250.10

NET RECEIPTS:                                                                                  $45,256.00


Expenses of Administration:

    Attorney’s Fees Paid Through the Plan                                   $0.00
    Court Costs                                                             $0.00
    Trustee Expenses & Compensation                                     $2,964.08
    Other                                                                   $0.00
TOTAL EXPENSES OF ADMINISTRATION:                                                                $2,964.08

Attorney fees paid and disclosed by debtor:               $5,000.00


Scheduled Creditors:
Creditor                                     Claim         Claim            Claim        Principal      Int.
Name                               Class   Scheduled      Asserted         Allowed         Paid         Paid
BECKET & LEE                   Unsecured      4,947.00       4,629.51         4,629.51        258.79        0.00
CANDICA LLC                    Unsecured      4,961.00       4,967.86         4,967.86        277.73        0.00
CAPITAL ONE NA                 Unsecured      2,739.00       2,674.17         2,674.17        149.50        0.00
CITGO                          Unsecured      1,123.00            NA               NA            0.00       0.00
DISCOVER FINANCIAL SERVICES    Unsecured     13,517.00     14,152.30        14,152.30         791.15        0.00
DISCOVER FINANCIAL SERVICES    Unsecured      9,359.00       9,773.49         9,773.49        546.36        0.00
FIA CARD SERVICES              Unsecured      5,921.00       6,218.53         6,218.53        347.65        0.00
HOME DEPOT                     Unsecured      2,119.00            NA               NA            0.00       0.00
JOHN DEERE CREDIT              Unsecured     13,366.00     24,424.06        24,424.06       1,365.45        0.00
JOHN DEERE CREDIT              Unsecured    102,550.00     38,983.79        38,983.79       2,179.43        0.00
JOHN DEERE CREDIT              Unsecured     23,000.00     12,373.77        12,373.77         691.72        0.00
JOHN DEERE CREDIT              Unsecured            NA       8,493.30         8,493.30        474.83        0.00
LOWES                          Unsecured      1,817.00            NA               NA            0.00       0.00
PRA RECEIVABLES MANAGEMENT L   Unsecured      5,620.00       5,561.38         5,561.38        310.91        0.00
REAL TIME RESOLUTIONS INC      Unsecured     65,528.00     65,542.04        65,542.04       3,664.18        0.00
REAL TIME RESOLUTIONS INC      Secured              NA           0.00             0.00           0.00       0.00
RFCU                           Secured       15,735.00     15,132.45        15,132.45      15,132.45     736.23
RFCU                           Unsecured      8,586.00       8,880.63         8,880.63        496.47        0.00
TITLEMAX - LEGAL DEPT          Secured        4,300.00       4,798.35         4,798.35      4,798.35     506.32
UNKNOWN CREDITOR               Unsecured      5,000.00            NA               NA            0.00       0.00
UNKNOWN CREDITOR               Unsecured     27,393.46            NA               NA            0.00       0.00
USDA - LAWRENCE CO FSA         Unsecured           0.00          0.00             0.00           0.00       0.00
USDA - LAWRENCE CO FSA         Unsecured    179,787.00    142,601.00       142,601.00       7,972.23        0.00
USDA - LAWRENCE CO FSA         Secured      179,787.00            NA               NA            0.00       0.00
USDA - LAWRENCE CO FSA         Secured              NA           0.00             0.00           0.00       0.00
WELLS FARGO BANK NA            Secured       13,300.00       1,485.16         1,485.16      1,485.16     107.01
WELLS FARGO BANK NA            Secured      291,456.00    298,781.66       298,781.66            0.00       0.00




UST Form 101-13-FR-S (9/1/2009)




Case 11-83381-CRJ13        Doc 155 Filed 12/07/17 Entered 12/07/17 16:15:56                             Desc
                             Main Document Page 2 of 4
 Summary of Disbursements to Creditors:
                                                              Claim           Principal           Interest
                                                            Allowed               Paid               Paid
 Secured Payments:
       Mortgage Ongoing                                       $0.00              $0.00             $0.00
       Mortgage Arrearage                                 $1,485.16          $1,485.16           $107.01
       Debt Secured by Vehicle                           $19,930.80         $19,930.80         $1,242.55
       All Other Secured                                $298,781.66              $0.00             $0.00
 TOTAL SECURED:                                         $320,197.62         $21,415.96         $1,349.56

 Priority Unsecured Payments:
        Domestic Support Arrearage                             $0.00              $0.00             $0.00
        Domestic Support Ongoing                               $0.00              $0.00             $0.00
        All Other Priority                                     $0.00              $0.00             $0.00
 TOTAL PRIORITY:                                               $0.00              $0.00             $0.00

 GENERAL UNSECURED PAYMENTS:                            $349,275.83         $19,526.40              $0.00


Disbursements:

         Expenses of Administration                             $2,964.08
         Disbursements to Creditors                            $42,291.92

TOTAL DISBURSEMENTS :                                                                      $45,256.00


        12) The trustee certifies that, pursuant to Federal Rule of Bankruptcy Procedure 5009,
the estate has been fully administered, the foregoing summary is true and complete, and all
administrative matters for which the trustee is responsible have been completed . The trustee
requests a final decree be entered that discharges the trustee and grants such other relief as may
be just and proper.

Dated: 12/07/2017                             By: /s/ Michele T. Hatcher
                                                                      Trustee

STATEMENT: This Unified Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
Act exemption 5 C.F.R. § 1320.4(a)(2) applies.




UST Form 101-13-FR-S (9/1/2009)




Case 11-83381-CRJ13            Doc 155 Filed 12/07/17 Entered 12/07/17 16:15:56                      Desc
                                 Main Document Page 3 of 4
Anthony Lee Pierce                                      CASE NO: 11-83381-CRJ-13
Peggy Harbin Pierce

                               CERTIFICATE OF SERVICE


   I, Michele T. Hatcher, Trustee, do hereby certify that I have this day served a copy of the
above and foregoing instrument, by placing copies of same in the U.S. Mail, postage prepaid and
properly addressed to the following:



   Anthony Lee Pierce
   Peggy Harbin Pierce
   8754 Moores Mill Road
   Meridianville, AL, 35759



        THIS day December 07, 2017                /s/ Michele T. Hatcher
                                                  Michele T. Hatcher, Trustee




UST Form 101-13-FR-S (9/1/2009)




Case 11-83381-CRJ13        Doc 155 Filed 12/07/17 Entered 12/07/17 16:15:56              Desc
                             Main Document Page 4 of 4
